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UNITED STATES DISTRICT COURT JUL 2 9 2008
NORTHERN DISTRICT OF OKLAHOMA pp

(1) CRAIG CARSON, on behalf of himself and
all others similarly situated,

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Case No.

Plaintiff,
vs.

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(1) SEMGROUP ENERGY PARTNERS, L.P., __)
(2) SEMGROUP ENERGY PARTNERS G.P., _ )
LLC; )
(3) KEVIN L. FOXX; )
(4) GREGORY C. WALLACE; and )
(5) ALEX STALLINGS, )
)

)

Defendants. JURY TRIAL DEMANDED

CLASS ACTION COMPLAINT FOR
VIOLATION OF FEDERAL SECURITIES LAWS

Plaintiff, individually and on behalf of all others similarly situated, by his
attorneys, alleges the following based on the investigation of his counsel, except as to
allegations specifically pertaining to Plaintiff and his counsel, which are based on
personal knowledge. The investigation of counsel is predicated on, among other things,
a review of public filings by SemGroup Energy Partners, L.P. (“SGLP,” “Partners,” or the
“Company”) with the United States Securities and Exchange Commission (“SEC”),
press releases issued by the Company, statements made by Company executives
during public telephone conferences, media reports about the Company, and publicly

available trading data relating to the price and volume of SGLP common units.

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SUMMARY OF THE ACTION AND FACTUAL BACKGROUND

1. This is a securities class action on behalf of all purchasers of the cornmon
units of SGLP between February 20, 2008 and July 17, 2008 (the “Class Period”) for
violations of the Securities Exchange Act of 1934 (the “Exchange Act”).

2. SGLP is a public limited partnership run by its general partner, SemGroup
G.P. LLC (the “General Partner”), a wholly owned subsidiary of SemGroup L.P. (the
“Parent”). The Parent is a private company with significant operations in the oil
business. In 2007 SGLP was partially spun off via a public offering, with the Parent
retaining a 49% interest. A number of the directors and officers of the General Partner
are officers of the Parent. As an entity in the oil business, the Parent was a party to a
number of hedge transactions related to the price of crude oil. Hedging the price of
crude oil has become a difficult endeavor, since the price is marked by large swings in
value and high volatility. Betting wrong on which way prices are going can leave a
hedging party in huge financial difficulty.

3. During the last several years the price of crude oil has rocketed in an
extremely volatile marketplace, with the potential for large dips:

a. __In the fall of 2007 oil prices rose to an all-time high of $80.00 per
barrel;

b. On October 19, 2007, U.S. light crude rose to a new high of $90.02
per barrel. Prices fell briefly then rose again rapidly to a peak of
$92.22 on October 26, 2007;

c. Prices increased throughout late October and early November. On
November 7, 2007 light crude oil reached another record, closing at
$98.10 per barrel. On November 21, 2007, oil prices rose to a new
high of $99.29 per barrel;

d. On January 2, 2008, U.S. light crude surpassed the psychological
barrier of $100 before falling to $99.69;

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e. The price of oil once again rose to $100.10 a barrel on February 19,
2008. Oil prices rose above $101 a barrel February 27, 2008. Oil
prices surpassed $103.00 a barrel February 29, 2008;

f. Oil prices continued to rise to $104.00 on March 3, 2008. Oil hit
$111.00 per barrel on March 13, 2008, before sliding back to below
$110.00. The record was again broken on March 17, 2008, with
U.S. light sweet crude reaching $111.80. On April 15, 2008 the
price of oil broke the $114.00 mark for the first time. The price
increased to $115.07/barrel on April 16, 2008, and increased again
to $117.00 per barrel on April 18, 2008. Oil prices rose to a new
high of $119.90 a barrel on April 22, 2008, before dipping and then
rising $3.00 on April 25, 2008 to $119.10;

g. On May 9, 2008, the oil price exceeded $125.00 per barrel for the
first time;

h. On June 28, crude hit a record of $142.99. Oil rose on July 1 toa
record per barrel price of $143.67;

i. On July 3 London Brent crude reached a record of $145.75 a
barrel. On July 11, oil hit another record of $147.00 a barrel;

j. On July 15, a sell-off began resulting in an $8.00 drop. By the end
of that week, crude oil had fallen by 11% to $128.00.

4. During early 2008, the Parent was caught up in very risky oil hedging
transactions. The Parent bet wrong on these hedges and began to suffer margin calls
which it had trouble meeting, and had to cover transactions that had declined, and
which began to severely impact its business and cause-liquidity problems. Rather than
disclose its difficulties at the start of the Class Period, when SGLP made a large
secondary offering of common stock which yielded approximately $137 million proceeds
(the “Offering”), the Defendants used the Offering as a vehicle to provide much needed
cash to the Parent through the sale to SGLP of the Parent's liquid asphalt cement
business. The Parent was described in very positive terms in the Offering. In fact,

however, it was in financial trouble due to its aggressive, undisclosed hedging

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transactions and was teetering on the brink of disaster if oil prices rose any further,
which was not revealed. By discussing the positive benefits of the relationship between
SGLP and the Parent at length in the Offering and in subsequent filings with the SEC,
Defendants had an ongoing affirmative duty to disclose material negative information
about the Parent to the investing public.

5. SGLP provides terminalling, storage, gathering, and transportation
services for companies engaged in the production, distribution, and marketing of crude
oil. It owns and operates an aggregate of approximately 6.7 million barrels of storage
capacity. These oil-related assets were contributed to the Company by the Parent in
connection with the Company's initial public offering in July 2007. The Company also
owns and operates 46 liquid asphalt cement terminals, which provide liquid asphalt
cement terminalling and storage services in the markets of continental United States.
The Company is based in Tulsa, Oklahoma. SGLP is a subsidiary of the Parent.

6. As noted above, on or about February 20, 2008 the Company effected the
Offering, which involved the sale of 6 million common units at $23.90 per unit for
proceeds of $137 million. The purpose of the Offering was to permit the Company to
raise funds to acquire the Parent's asphalt business for $378.5 million. In addition to
using the proceeds from the Offering, the Company revealed that it would borrow an
additional $241 million to complete the acquisition. The Prospectus described the
throughput agreement which had been previously entered into with respect to the
Company's ownership and operation of the Parent’s crude oil gathering business which
had been conveyed to the Company in corinection with the Company's initial public

offering. Pursuant to the throughput agreement the Parent had obligated itself to make

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significant payments to the Company for services rendered by the Company to the
Parent in gathering crude oil for delivery to refiners, pipelines or storage facilities. The
throughput agreement is a very materially beneficial contract to the Company, and
provides the Company with significant revenue. Anything which would put that
agreement in jeopardy would be highly material. In connection with the acquisition of
the asphalt business, the Company entered into a terminalling agreement with the
parent which was to provide substantial revenues to the Company in connection with
the Company's operation of the asphalt business. Anything which would put that
agreement in jeopardy would be highly material. In addition there was extensive
discussion about the Company's interaction with the Parent and its effects on the
Company's business and prospects. The Company is dependant on the Parent for
labor, since the Company has few employees. The Prospectus disclosed that the
Parent intended to use the proceeds received by it from the sale of the asphalt business
to pay down its indebtedness. There was extensive discussion in the Prospectus
concerning the Company's relationship with the Parent and the impact of that
relationship on the Company's business. (February 13, 2008 Prospectus pp. 52-56; 69-
80) At no time however did the Prospectus reveal that the Parent was suffering from
liquidity problems, or that it was engaged highly risky crude oil hedge transactions which
could affect its ability to continue as a going concern should oil prices further increase.
Anything which was materially negative concerning the Parent would be material to the
Company.

7. Thereafter, on March 6, 2008, the Company filed its Annual Report on

Form 10-K for the year ending December 31, 2007. While the report extolled the virtues

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of the relationship with the Parent, there was no revelation that the Parent was in
serious financial trouble, or had invested in highly risky crude oil hedges which put the
Company's future in serious jeopardy. Thus, Defendants did not correct the
misstatements and omissions contained in the Prospectus with respect to the February
Offering. The Report was signed by Defendants, the General Partner, Foxx, Stallings
and Wallace.

8. On May 8, 2008, the Company filed its Quarterly Report on Form 10-Q for
the quarter ending March 31, 2008. While the Report discussed the extensive business
relationship between the Company and the Parent, there was no revelation that the
Parent was in serious financial trouble, or had invested in highly risky hedges which put
the Company’s future in serious jeopardy. Thus, Defendants did not correct the
misstatements and omissions contained in the Prospectus with respect to the February
Offering. The Report was signed by Defendants, the General Partner and Stallings.

9. In the period post the Offering, SGLP units traded in the $24-27 range
reflecting that, as far as the investing public was aware, the Company was operating
according to its business plan. However, by July 11, 2008, SGLP unit values began to
decline on increased trading volume, despite the release of no adverse news. Then on
July 17, 2007 SGLP unit price decline 50% to $11.00 on greatly increased volume of 5.7
million units, as a result of leakage of the material adverse news which had been
withheld by Defendants. As a result of the widespread leakage, the Defendants were
finally forced to issue a statement which they did after the market closed on July 17,
2008, and which stated in relevant part:

TULSA, Okla.--(BUSINESS WIRE)--SemGroup Energy Partners, L.P.
(NASDAQ: SGLP), has been informed by SemGroup, L.P., SGLP’s

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Parent, that SemGroup, L.P. is experiencing liquidity issues and is
exploring various alternatives, including raising additional equity, debt
capital or the filing of a voluntary petition for reorganization under Chapter
11 of the Bankruptcy Code.

Kevin Foxx, SemGroup Energy Partners’ President and Chief Executive
Officer, stated that,

“While SGLP’s parent is experiencing liquidity challenges, SGLP’s assets
provide important terminalling and storage services to the energy industry.
We own valuable assets in strategic locations and remain positioned to
provide midstream services. Until our parent advises us of their course of
action, we cannot fully evaluate and are not yet prepared to comment on
how any such action taken by our parent might affect SGLP.”

SGLP derives a substantial majority of its revenues pursuant to a
Throughput Agreement and a Terminalling and Storage Agreement with
SemGroup, L.P. and its subsidiaries. In addition, SGLP has entered into
an Amended and Restated Omnibus Agreement and other agreements
with SemGroup, L.P. that address, among other things, the provision of
general and administrative and operating services to SGLP.

10. SGLP units declined materially on July 18, 2008 dropping from $11.00 to
$8.30 on materially increased volume of 9.8 million units. Thus in two days, SGLP units
had dropped over 63% in value, wiping out over $300 million of in the public unit-
holders’ equity.

11. Various analysts discussed the fallout from this announcement as
reported by MarketWatch on July 18, 2008 in an article entitled “Analysts cite possible
problems at SemGroup LP tied to high oil prices:

NEW YORK (MarketWatch) -- SemGroup Energy Partners L.P. said its

corporate parent is considering filing for bankruptcy, casting doubts over

one of its key revenue sources just one year after the oil-pipeline owner

went public along with a crop of other energy partnerships.

SGLP fell 25% to close at $8.30 as one of the biggest decliners Friday on

the NASDAQ, following a 50% drop in the previous session on
downgrades by debt rating agencies.

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Analysts raised the possibility that SemGroup LP -- the privately held
parent of the public Energy Partners unit - may be falling victim to higher
oil prices.

"While SemGroup has been running an operationally sound business with
attractive regional business niches and adequate hedged margins, in
Moody's view the over 50% rise in sector oil prices since March 31 is likely
to have pressured its liquidity position," Moody's analyst Andrew Oram
said in a note on Thursday. "Highly volatile hydrocarbon prices would
have been challenging to its hedged trading business."

Dan Pickering of Tudor Pickering Holt told Dow Jones Newswires that
SemGroup LP wrongly bet on crude price to go down earlier this year.

"As crude went up, they were forced to cover, and so added
additional buying power to the market," he said. “In other words, the
higher crude went, the more money they lost."

Moody's Andrew Oram said he anticipates much higher funding needs for
hydrocarbon inventories and accounts receivables and the posting of
much higher cash margin deposits given that the rapid pace of price
increase would yield market prices that exceed the prices of existing
exchange traded hedges.

SemGroup L.P. owns a 40% limited partner interest and a 2% general
partner interest in SemGroup Energy Partners.

Fitch Ratings cut its view on about $2.6 billion in debt held by SemGroup
LP, SemCrude LP and SemCAMS Midstream Co. The downgrade came
amid an 11% slide in crude prices this week, before futures regained their
footing Friday.

The Tulsa, Okla. owner of petroleum storage and transportation assets
said late Thursday SemGroup L.P. is exploring various alternatives to
bankruptcy protection, including raising additional equity, seeking debt
capital or filing a voluntary petition for reorganization.

On Friday, Terry Ronan was named SemGroup, L.P. president and chief
executive officer.

Kevin Foxx remains president and chief executive officer of SemGroup
Energy Partners, L.P.

12. The Fitch Ratings Agency issued a downgrade of SemGroup LP and

several of its related entities and placed the company on Rating Watch stating:

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Approximately $2.6 billion of debt is affected by these actions. The
downgrades and Watch Negative status reflect liquidity pressures related
to the sustained elevated level of crude oil prices and SemGroup's ability
to continue its marketing and storage businesses in the current price
environment.

Spot prices for WTI crude at Cushing, OK have increased by as much as
43% since April 1, 2008. SemGroup hedges a large percentage of its
inventories and would be required to post additional margin to increase
the collateral support for its hedging program. Specifically, Fitch is
concerned that the company may not have sufficient available capacity
from its bank facilities to meet requests for additional margin.

SemGroup is a privately held midstream energy partnership focused
primarily on providing gathering, transportation, processing, and marketing
services for crude oil and refined products in the U.S. Midcontinent region
and Canada. Additionally, through its SemMaterials subsidiary,
SemGroup stores, transport and markets asphalt and asphalt products in
the United States and Mexico. The company is currently owned by
management and various private equity investors, including Ritchie
Capital Management and Carlyle/Riverstone Global Energy and Power
Fund Il."

13. Subsequently, lenders seized control of SGLP after reviewing SGLP’s
books and records, ousting management, including Tom Kivisto and Defendant Kevin
Foxx, noting concerns about the Company's ability to meet margin requirements on its
hedged trading activity.

JURISDICTION AND VENUE

14. The claims asserted herein arise under §§10(b) and 20(a) of the
Exchange Act, 15 U.S.C. §§78j (b) and 78t (a), and Rule 10b-5, 17 C.F.R. §240.10b-5.
Jurisdiction exists pursuant to §27 of the Exchange Act, 15 U.S.C. §78aa, and 28
U.S.C. §1331.

15. | Venue is proper in this District because many of the wrongful acts alleged

herein took place or originated in this District.

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16. Defendants used the instrumentalities of interstate commerce, the U.S.
mails and the facilities of the national securities markets in connection with the wrongful
activity alleged herein.

PARTIES

17. Plaintiff purchased SGLP common units during the Class Period as set
forth in the accompanying certification which is incorporated herein by reference, and
was damaged thereby.

18. Defendant SGLP is a Delaware limited partnership. SGLP common units
trade on the NASDAQ under the symbol “SGLP.”

19. Defendant Kevin L. Foxx (“Foxx”) co-founded the Parent in April 2000 and
was, until being ousted by the Company's lenders, the Parent's Executive Vice-
President and Chief Operating Officer. He also served as executive Vice-President and
Chief Operating Officer of SemCrude, L.P. and SemCanada Crude Company.
Additionally, Foxx was the President, Chief Executive Officer and a Director of SGLP.
He signed the Registration Statement in connection with the February 20, 2008 unit
Offering. Prior to SemGroup, Foxx was President and operating manager of Foxx
Transports, L.L.C., a domestic oil gathering and trading company based in Houston,
Texas. He sold the business to SemCrude in April of 2000, and was instrumental in the
transition and consolidation of his company’s assets to SemCrude.

20. Defendant Gregory C. Wallace (“Wallace”), co-founded the Parent in April
2000 and serves as the Parent's vice president, chief financial officer and secretary. He
is a director of SGLP. Wallace signed the Registration Statement with respect to the

February Offering.

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21. Defendant Alex Stallings (“Stallings”) was, at all relevant times, the Chief
Accounting Officer for SGLP. Defendant Stallings serves as the Parent’s chief
accounting officer and directs the financial and accounting operations of the Parent
company. Stallings signed the Registration Statement with respect to the February
Offering.

22. Defendant SemGroup Energy Partners G.P. LLC (the “General Partner’)
is the general partner of SGLP. It is wholly owned by the Parent, and has the power to
and directs the operations of the Company. Until the end of the Class Period, it was
dominated by nori-independent directors.

23. Defendants Foxx, Wallace and Stallings are sometimes referred to as the
Individual Defendants.

CLASS ACTION ALLEGATIONS

24. Plaintiff brings this action as a class action pursuant to Federal Rules of
Civil Procedure 23(a) and 23(b) (3) on behalf of a Class consisting of all persons who
purchased or otherwise acquired the common stock of SGLP from February 20, 2008
through July 17, 2008. Excluded from the Class are Defendants, the officers and
directors of the Company, members of their immediate families and their legal
representatives, heirs, successors, and assigns, and any entity in which Defendants
have or had a controlling interest.

25. |The members of the Class are so numerous that joinder of all members is
impracticable. While the exact number of the members of the Class is unknown to
Plaintiff at this time and can only be ascertained through appropriate discovery, there

are approximately 21 million common units of SGLP common stock outstanding, and a

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substantial number of units were traded during the Class Period. Plaintiff believes that
there are hundreds, if not thousands, of members of the Class. Members of the Class
may be identified from records maintained by SGLP, its transfer agent or underwriter
records and may be notified of the pendency of this action by mail, using a form of
notice similar to that customarily used in securities class actions.

26. ‘Plaintiff's claims are typical of the claims of the other members of the
Class in that the members of the Class have been damaged by the acts of Defendants.

27. Plaintiff will fairly and adequately protect the interests of the other
members of the Class. To assist him in that endeavor, Plaintiff has retained counsel
cornpetent and experienced in class and securities litigation. Plaintiff is not aware of
any interest it holds which is antagonistic to the interests of the Class.

28. Common questions of law and fact exist as to all members of the Class
and predominate over any questions solely affecting individual members of the Class.
Among the questions of law and fact common to this Class are:

a. Whether the Exchange Act was violated by the Defendants’ acts, as
alleged herein;

b. | Whether any materially false or misleading statements were made
and/or whether Defendants omitted material facts necessary to
make statements made, in light of the circumstances under which
they were made, not misleading;

c. Whether Defendants had a duty to correct prior misstatements or
omissions; and

d. The measure of damages.
29. A class action is superior to all other available methods for the fair and
efficient adjudication of this controversy since joinder of all mernbers is impracticable.

Furthermore, because the damages suffered by individual Class members may be

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relatively small, the expense and burden of individual litigation make it impossible for
members of the Class to pursue individual redress for the damages caused to them by
Defendants’ acts. Plaintiff is not aware of any difficulty that will be presented in
managing this action as a class action.

ADDITIONAL SCIENTER ALLEGATIONS

30. The Individual Defendants and SGLP acted with scienter in that the
Individual Defendants and SGLP knew that the public documents and statements
issued or disseminated in the name of the Company were materially false and
misleading; knew that such statements or documents would be issued or disseminated
to the investing public; and knowingly and substantially participated or acquiesced in the
issuance or dissemination of such statements or documents as primary violations of the
federal securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of
their receipt of information reflecting the true facts regarding SGLP, their control over,
and/or receipt and/or modification of SGLP’s allegedly materially misleading
misstatements and/or their associations with the Company which made them privy to
confidential proprietary information concerning SGLP, participated in the fraudulent
scheme alleged herein.

31. The motive of the Individual Defendants and SGLP was to raise
substantial capital in the February Offering to provide cash to the Parent to ease its
undisclosed material liquidity problems cause by its risky hedging strategy. In
furtherance of this scheme, the Defendants caused SGLP to disseminate the February
Prospectus so as to raise approximately $137 million from the investing public, plus

borrowed funds, which would be paid to the Parent.

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LOSS CAUSATION

32. During the Class Period, as detailed herein, the Individual Defendants and
SGLP engaged in a scheme to deceive the market and a course of conduct which
artificially inflated the prices of SGLP common stock and operated as a fraud or deceit
on Class Period purchasers of SGLP common units by failing to disclose the material
adverse facts detailed herein, and further by failing to correct and update information
which was previously falsely rendered. When the Defendants’ prior misrepresentations
and fraudulent conduct were disclosed (first by wide-spread leakage of the materially
adverse news) and then by press release, the price of SGLP common units fell
precipitously as the prior artificial inflation was dissipated. As a result of their purchases
of SGLP common units during the Class Period, Plaintiff and the other Class members
suffered economic loss, i.e., damages, under the federal securities laws.

33. By failing to disclose the material facts detailed herein, the Individual
Defendants and SGLP presented a misleading picture of SGLP business and future
prospects. The Individual Defendants’ and SGLP’s false and misleading statements
had the intended effect and caused SGLP common units to trade at artificially inflated
levels throughout the Class Period.

34. Asa direct result of the market leakage and disclosures on or about July
17, 2008, the price of SGLP common units fell precipitously, falling from $22.80 per unit
share to $8.30 per unit.

35. The precipitous decline in the price of SGLP common stock after this
disclosure was a direct result of the nature and extent of the Individual Defendants’ and

SGLP’s fraud finally being revealed to investors and the market. The timing and

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magnitude of the price decline in SGLP common units stock negates any inference that
the loss suffered by Plaintiff and the other Class members was caused by changed
market conditions, macroeconomic or industry factors or Company-specific facts
unrelated to the Individual Defendants’ and SGLP’s fraudulent conduct. The economic
loss, i.e., damages, suffered by Plaintiff and the other Class members was a direct
result of the Individual Defendants’ and SGLP’s fraudulent scheme to artificially inflate
the prices of SGLP common stock and the subsequent significant decline in the value of
SGLP common stock when the Individual Defendants’ and SGLP’s prior
misrepresentations and other fraudulent conduct were revealed.

Applicability of Presumption of Reliance:
Fraud on the Market Doctrine

36. As to the claims asserted on behalf of the Class, at all relevant times the
market for SGLP common stock was an efficient market for the following reasons,
among others:

a. |SGLP common units met the requirements for listing, and was listed
and actively traded on the NASDAQ, a highly efficient and
automated market;

b. as a regulated issuer, SGLP filed periodic public reports with the
SEC and the NASD;

c. | SGLP regularly communicated with public investors via established
market communication mechanisms, including regular
disseminations of press releases on the national circuits of major
newswire services and other wide-ranging public disclosures, such
as communications with the financial press and other similar
reporting services; and

d. SGLP was followed by several securities analysts employed by
major brokerage firms who wrote reports which were distributed to
the sales force and certain customers of their respective brokerage
firms. Each of these reports was publicly available and entered the
public marketplace.

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37. As aresult of the foregoing, the market for SGLP common units promptly
digested current information regarding SGLP from all publicly available sources and
reflected such information in the prices of the stock. Under these circumstances, all
purchasers of SGLP common units during the Class Period suffered similar injury
through their purchase of SGLP common units at artificially inflated prices and a
presumption of reliance applies.

No Safe Harbor

38. The statutory safe harbor provided for forward-looking statements under
certain circumstances does not apply to any of the allegedly false statements pleaded in
this Complaint. Many of the specific statements pleaded herein were not identified as
“forward-looking statements” when made. To the extent there were any forward-looking
statements, there were no meaningful cautionary statements identifying important
factors that could cause actual results to differ materially from those in the purportedly
forward-looking statements. Alternatively, to the extent that the statutory safe harbor
does apply to any forward-looking statements pleaded herein, Defendants are liable for
those false forward-looking statements because at the time each of those forward-
looking statements were made, the particular speaker knew that the particular forward-
looking statement was false, and/or the forward-looking statement was authorized
and/or approved by an executive officer of SGLP who knew that those statements were

false when made.

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COUNT 1
(For Violations of §10(b) of the Exchange Act and Rule 10b-5
Against the Individual Defendants and SGLP)

39. Plaintiff incorporates and realleges each and every allegation contained
above as if fully set forth herein.

40. During the Class Period, the Individual Defendants and SGLP
disseminated or approved the false statements specified above, which they knew or
deliberately disregarded were misleading in that they contained misrepresentations and
failed to disclose material facts necessary in order to make the statements made, in
light of the circumstances under which they were made, not misleading.

41. Thereafter, the Individual Defendants and SGLP failed to update or correct
their prior false and misleading statements or omissions thereby continuing to violate
the law.

42. The Individual Defendants and SGLP violated §10(b) of the Exchange Act
and Rule 10b-5 in that they:

a. Employed devices, schemes, and artifices to defraud;

b. | Made untrue statements of material facts or omitted to state material
facts necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading; or

c. Engaged in acts, practices, and a course of business that operated
as a fraud or deceit upon Plaintiff and others similarly situated in
connection with their purchases of SGLP common units during the
Class Period.

43. Plaintiff and the Class have suffered damages in that, in reliance on the

integrity of the market, they paid artificially inflated prices for SGLP common stock.

Plaintiff and the Class would not have purchased SGLP common stock at the prices

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they paid, or at all, if they had been aware that the market prices had been artificially
and falsely inflated by Defendants’ misleading statements. As a direct and proximate
result of The Individual Defendants’ and SGLP’s wrongful conduct, Plaintiff and the
other members of the Class suffered damages in connection with their purchases of
SGLP common stock during the Class Period.
COUNT II
(For Violation of §20(a) of the Exchange Act
Against The General Partner)

44. Plaintiff repeats and realleges each and every allegation contained above
as if fully set forth herein.

45. The General Partner acted as a controlling person of SGLP within the
meaning of §20(a) of the Exchange Act. By reason of its position as the General
Partner of SGLP, it had the power and authority to cause SGLP to engage in the
wrongful conduct complained of herein. By reason of such conduct, the General
Partner are liable pursuant to §20(a) of the Exchange Act.

JURY TRIAL DEMANDED

Plaintiff demands a trial by jury.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a. Determining that this action is a proper class action, certifying Plaintiff as a
class representative under Rule 23 of the Federal Rules of Civil Procedure, and
certifying Plaintiff's counsel as class counsel;

b. Awarding compensatory damages in favor of Plaintiff and the other

members of the Class against all Defendants, jointly and severally, for all damages

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sustained as a result of Defendants’ wrongdoing, including prejudgment and post-

judgment interest thereon;

C. Awarding Plaintiff and the Class their reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

d. Such other and further relief as the Court may deem just and proper.

DATED: July 22, 2008

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FEDERMAN & SHERWOOD _

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William B. Federman, OBA #2853
/ Stuart W. Emmons, OBA #12281

10205 North Pennsylvania Avenue
Oklahoma City, Oklahoma 73120
Ph: 405.235.1560

Fax: 405.239.2112
WBF@Federmaniaw.com
SWE@Federmanlaw.com

ROY JACOBS & ASSOCIATES
Roy L. Jacobs (RLJ-0286)

60 East 42nd Street, 46th Floor
New York, NY 10165

Tel. (212) 867-1156

Fax (212) 504-8343
rjacobs@jacobsclassiaw.com

- and -

PASKOWITZ & ASSOCIATES
Laurence D. Paskowitz (LP-7324)
60 East 42nd Street, 46th Floor
New York, NY 10165

Tel. (212) 685-0969

Fax (212) 685-2306
lpaskowitz@pasklaw.com

ATTORNEYS FOR PLAINTIFF

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PLAINTIFF’S CERTIFICATE

The undersigned (‘Plaintiff’) declares, as to the claims asserted under the federal securities
aws, that:

1. Plaintiff has reviewed the complaint of SemGroup Energy Partners, L.P. (“SGLP”) and
certain other defendants.

2. Plaintiff did not acquire the security that is the subject of this action at the direction of
plaintiff's counsel or in order to participate in this private action or any other litigation under
the federal securities laws.

3. Plaintiff is willing to serve as a representative party on behalf of a class, including providing
testimony at deposition and trial, if necessary.

4. Plaintiff will not accept any payment for serving as a representative party on behalf of the
class beyond the Plaintiff's pro rata share of any recovery, except such reasonable costs and
expenses (including lost wages) directly relating to the representation of the class as approved
by the court.

5. Plaintiff made the following transactions during the Class Period (February 20, 2008 through
July 17, 2008) in the common units of SGLP:

Purchases Sales

Date(s) Number Price | Date(s) Number Price

of Shares of Shares
05/07/2008 100 25.00

6. During the three years prior to the date of this Certification, Plaintiff has not sought to serve
or served as a representative party for a class in an action filed under the federal securities
laws.

7. I declare under penalty of perjury, this 21 _ day of July 2008 that the information above is
accurate.

Craig Carson
E-signed

